FORM dfltprse (revised 05/19/16)

                                   UNITED STATES BANKRUPTCY COURT
                                             District of Arizona

            NOTICE TO PARTY FILING MOTION OR OTHER DOCUMENT

CASE NAME: Exceptional Floor Covering, Inc. v. MILLER et al
CASE NUMBER/ADVERSARY NUMBER: 2:17−ap−00717−MCW
DOCKET NUMBER: 6
DOCUMENT FILING DATE: 12/29/2017
DOCUMENT TITLE: Clerk's Entry of Default



TO:                                  Kent A. Lang




The document you have filed cannot be further processed until you comply with the following.



        You have filed an Affidavit of Default and requested the clerk to Enter the Default. Default cannot be entered
        for the reasons stated in the Notice to Party Applying for Default.


        OTHER:




Date: January 2, 2018

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                            George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                             By: Viviana V, Deputy Clerk
www.azb.uscourts.gov                                         Phone: 928−261−4508




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                             UNITED STATES BANKRUPTCY COURT
                                       District of Arizona

                    NOTICE TO PARTY APPLYING FOR DEFAULT

CASE NAME: Exceptional Floor Covering, Inc. v. MILLER et al
CASE NUMBER/ADVERSARY NUMBER: 2:17−ap−00717−MCW



The default applied for cannot be entered for the following reason(s):

              No affidavit of service of the summons and complaint is on file. Fed. R. Bankr. P. 7004(a)

              Date of service (date of personal service or date mailed) of the summons and complaint was more than
              7 days after issuance of the summons. Fed. R. Bankr. P. 7004(e)

              The affidavit of service does not state that a copy of the complaint and summons were served. Fed. R.
              Bankr. P. 7004(a)

              Debtor is represented by counsel and the affidavit of service states that service was made only on
              debtor or only on debtor's attorney. If debtor is represented by an attorney, the summons and complaint
              must be served on both the debtor and debtor's attorney. Fed. R. Bank. P. 7004(b)(9) and (g).

              Summons and Complaint were mailed to the debtor at an address other than the address stated on the
              petition or if an address update was filed with the court, at that address. Fed. R. Bankr. P. 7004(b)(9)

              The affidavit of service states that service was made by personal delivery of the summons and
              complaint but does not state that the person making the delivery is 18 years or older and is not a party
              to the case. Fed. R. Bankr. P. 7004(a) (This requirement does not apply to service by mail.)

              The affidavit for entry of default does not state that the defendant(s) to be defaulted are not in the
              military and that the provisions of the Servicemembers Civil Relief Act do not apply. 50 U.S.C.
              Section 521.

              The defendant(s) to be defaulted have filed an answer or motion.

              The affidavit of service states that the summons and complaint were served by mail to an address that
              does not comply with one of the following: Fed. R. Bankr. P. 7004(b)

           1. Agency of the United States served by mail. The summons and complaint must be mailed to all three
           of the following addresses.

                    Civil Process Clerk
                    United States Attorney, District of Arizona
                    40 North Central Avenue
                    Phoenix AZ 85004

                    Attorney General of the United States
                    Department of Justice, Room B−103
                    950 Pennsylvania Avenue, N.W.
                    Washington DC 20530−0001

                    US Agency Name
                    Street Address/PO Box
                    City State


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            2. United States Trustee served by mail. The summons and complaint must be mailed to:

                      United States Trustee
                      230 North First Avenue, Suite 204
                      Phoenix AZ 85003−1706


Default cannot be entered until the above checked deficiencies are corrected and a new affidavit of service is filed. If
new service needs to be made, a replacement (alias) summons must be issued and served.




Date: January 2, 2018

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Telephone number: (602) 682−4000                            By: Viviana V, Deputy Clerk
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